          Case 2:17-cv-02459-DLR Document 30 Filed 04/26/18 Page 1 of 1



 1
 2
 3
 4
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   James Mitchell, et al.,                            No. CV-17-02459-PHX-DLR
10                  Plaintiffs,                         ORDER
11   v.
12   Granite Creditors Service Incorporated, et
     al.,
13
                    Defendants.
14
15
16            The Court has reviewed the parties’ Stipulation for Dismissal with Prejudice.
17   (Doc. 29.) For good cause shown,
18            IT IS ORDERED that the parties’ Stipulation for Dismissal with Prejudice is
19   GRANTED.
20            IT IS FURTHER ORDERED that Defendants Granite Creditors Service,
21   Incorporated and Steven A. Wright are dismissed with prejudice. Each party shall bear
22   his or its own attorneys’ fees and costs included herein.
23            Dated this 26th day of April, 2018.
24
25
26
                                                    Douglas L. Rayes
27                                                  United States District Judge
28
